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                         UNITED STATES DISTRICT COURT
                                                      for the
                                          EASTERN DISTRICT OF NEW YORK


 DANA EHDE, individually and on behalf of all others
               similarly situated,                                            )
                                                                              )
                              Plaintiff                                       )
                                                                              )
                                                                                Civil Action No. 1:24-cv-06676-NCM-
                                 v.                                           )
                                                                                                VMS
                                                                              )
                                                                              )
    BROOKESTONE FUNDING, INC., a New York
                                                                              )
             registered company,
                                                                              )
                             Defendant


                                            AFFIDAVIT OF SERVICE


Elijah White, affirms and says that, the Deponent is not a party herein, is over the age of 18 years and resides
in the state of New York.That on October 15, 2024, at 11:55 am at 2022 E 9th St, Brooklyn, NY 11223,
Deponent served the within Complaint, Cover Sheet, Litigation Hold Letter, Notice re Consent, SUMMONS
IN A CIVIL ACTION, with the index number and filing date of the action were endorsed upon the face of
the papers so served herein. On: Brookestone Funding, Inc. (hereinafter referred to as "subject") by leaving
the following documents with Silva who as Authorized individual is authorized by appointment or by law to
receive service of process for Brookestone Funding, Inc..


Additional Description:
I asked her the name , and do he live here. And is she authorized to accept on his behalf. She said yes. After
I asked her full name and she just gave me the first name and closed her door

White Female, est. age 45-54, glasses: N, Black hair, 140 lbs to 160 lbs, 5' 6" to 5' 9".
Geolocation of Serve: https://google.com/maps?q=40.3882576979,-74.3097430576
Photograph: See Exhibit 1


Total Cost: $320.00

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.




✓ I asked the person spoken to, on whether the subject was in active military service or financially dependent upon any one who


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    is in the military service of the United States or the State of New York in any capacity whatsoever and received a negative
    reply. The source of my information and belief are the conversations above narrated. Upon that information and belief I assert
    that the recipient is not in the military service of New York State or of the United States as that term is defined either in the
    State or Federal statutes.

                                                                   /s/ Elijah White
Executed in
                                                                   Signature
   Kings County                                               ,    Server Name: Elijah White
   NY           on     10/23/2024                     .            License#: 2093436-DCA


               PROOF TECHNOLOGY NEW YORK , LLC 1800 Gaylord Avenue, Denver, CO 80206 License # 2103684-DCA




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